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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                       )       No. 2:06-CR-441 GEB
                                                     )
11
                                                     )       STIPULATION REGARDING
            Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
12
                                                     )       SPEEDY TRIAL ACT; [PROPOSED]
     v.                                              )       FINDINGS AND ORDER
13
                                                     )
     VIRGILIO PINEDA                                 )
14
                                                     )
                                                     )
15
                                                     )
            Defendant.                               )
16
                                                     )
                                                     )
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18

19                                       STIPULATION
            Plaintiff United States of America, by and through its counsel of record, and the
20

21   defendant, by and through his counsel of record, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on March 22, 2013.
23
            2.      By this stipulation, the defendants now move to continue the status conference
24
     until May 3, 2013, at 9:00 a.m., and to exclude time between March 22, 2013, and May 3, 2013,
25
     under Local Code T4. Plaintiff does not oppose this request.
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27          3.      The parties agree and stipulate, and request that the Court find the following:

28          a.      The government has represented that the discovery associated with this case


                                                         1
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     includes approximately 273 pages of investigative reports, audio recordings, and photos. All of
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 2   this discovery has been either produced directly to counsel and/or made available for inspection

 3   and copying.
 4
            b.       Counsel for the defendant desires additional time to consult with his client, to
 5
     review the current charges, to conduct investigation and research related to the charges, to review
 6

 7
     and copy discovery for this matter, to discuss potential resolutions with his client, to prepare

 8   pretrial motions, and to otherwise prepare for trial. Additionally, at the request of the defense,
 9   the Probation Department has completed a Pre-Plea report. The parties are working to see if this
10
     case may resolve by plea agreement and need additional time. There were some issues raised by
11
     the Pre-Plea Report that warrant further defense investigation.
12

13          c.       Counsel for the defendant believes that failure to grant the above-requested

14   continuance would deny him the reasonable time necessary for effective preparation, taking into
15
     account the exercise of due diligence.
16
            d.       The government does not object to the continuance.
17
            e.       Based on the above-stated findings, the ends of justice served by continuing the
18

19   case as requested outweigh the interest of the public and the defendants in a trial within the

20   original date prescribed by the Speedy Trial Act.
21
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
22
     et seq., within which trial must commence, the time period of March 22, 2013 and May 3, 2013,
23
     inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
24

25   because it results from a continuance granted by the Court at defendant’s request on the basis of

26   the Court's finding that the ends of justice served by taking such action outweigh the best interest
27
     of the public and the defendants in a speedy trial.
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                                                       2
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                                 4.    Nothing in this stipulation and order shall preclude a finding that other
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 2   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

 3   period within which a trial must commence.
 4

 5
     IT IS SO STIPULATED.
 6

 7
     Dated: March 20, 2013                                                  BENJAMIN WAGNER
                                                                            U.S. ATTORNEY
 8
                                                                    by:     /s/ David D. Fischer for
 9                                                                          JILL THOMAS
10
                                                                            Assistant U.S. Attorney
                                                                            Attorney for Plaintiff
11

12
     Dated: March 20, 2013                                                  /s/ David D. Fischer
13                                                                          DAVID D. FISCHER
                                                                            Attorney for Defendant
14                                                                          VIRGILIO PINEDA
15

16                                                        ORDER
17

18

19   IT IS SO FOUND AND ORDERED.
20   Date:                 3/20/2013

21
                                                       ___________________________________
22
                                                       GARLAND E. BURRELL, JR.
23                                                     Senior United States District Judge

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25   DEAC_Signature-END:




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